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 6   Attorney for Defendant
     SHERLYN CHARLES
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                  )
     UNITED STATES OF AMERICA,                          Case No.: 2:14-cr-0239−GEB
                                                    )
11                                                  )
                           Plaintiff,                   STIPULATION AND ORDER TO
                                                    )   CONTINUE STATUS CONFERENCE
12                                                  )
     vs.                                                AND VACATE TRIAL DATE
                                                    )
13                                                  )
     SHERLYN CHARLES,                               )
14                                                  )
                  Defendant
                                                    )
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16
            The United States of America, through its counsels of record, Mc Gregory W. Scott,
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     United States Attorney for the Eastern District of California, and Jill Thomas, Assistant United

19   States Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the Status Conference scheduled for January 26, 2018 at 9:00 am shall be
21
     continued to March 2, 2018 at 9:00 am and vacate trial date set for February 20, 2018.
22
            Defense requests additional time to review discovery and continue to undergo defense
23

24   investigation. Accordingly the defendant agrees that a Local Rule T-4 exclusion would be

25   applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                   STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE AND VACATE TRIAL DATE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
 2
     time be excluded under this provision January 26, 2018 through March 2, 2018.
 3
                                                         Respectfully Submitted,
 4                                                       MC GREGORY W. SCOTT
 5
                                                         United States Attorney

 6
     DATE: January 24, 2018                              /s/ Ron Peters for Jill Thomas
 7                                                       JILL THOMAS
 8                                                       Assistant U.S. Attorney

 9
     DATE: January 24, 2018                              /s/Ron Peters
10
                                                         RON PETERS
11                                                       Attorney for Defendant
                                                         Sherlyn Charles
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                   STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE AND VACATE TRIAL DATE

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 1                                              PROPOSED ORDER
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             The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, January 26, 2018, to and including March 2,
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11   2018.

12           It is so ordered.
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             Dated: January 26, 2018
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                    STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE AND VACATE TRIAL DATE

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